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LaMONICA HERBST & MANISCALCO, LLP                                      Objection Deadline: April 5, 2022 by 5:00 p.m.
Counsel to the Chapter 7 Trustee
3305 Jerusalem Avenue
Wantagh, New York 11793
Telephone: 516.826.6500
Jacqulyn S. Loftin, Esq.
Cristina Lipan, Esq.

UNITED STATES BANKRUPTCY COURT SOUTHERN
DISTRICT OF NEW YORK
                                      x

In re:                                                                        Chapter 7

BMT DESIGNERS & PLANNERS, INC.,                                               Case No. 22-10123 (MG)
fdba BMT D&P, fdba BMT fdba BMT DAS US,

                            Debtor.
                                                          x

           NOTICE OF ABANDONMENT OF THE ESTATE’S INTEREST IN AND TO ANY
          AND ALL FURNITURE, EQUIPMENT, PERSONAL EFFECTS, AND ANY OTHER
          OF THE DEBTOR’S PROPERTY REMAINING AT THE ARLINGTON, VIRGINIA
                                    PREMISES

TO: ALL KNOWN CREDITORS AND PARTIES IN INTEREST:

         PLEASE TAKE NOTICE that, pursuant to Rule 6007 of the Federal Rules of Bankruptcy Procedure

(“Bankruptcy Rules”) and the applicable provisions of Title 11 of the United States Code (“Bankruptcy Code”),

notice is hereby given by Salvatore LaMonica, Esq. solely in his capacity as the Chapter 7 Trustee (“Trustee”) of

the bankruptcy estate (“Estate”) of BMT Designers & Planners, Inc., fdba BMT D&P, fdba BMT fdba BMT DAS

US (“Debtor”), through his counsel, LaMonica Herbst & Maniscalco, LLP, of the proposed abandonment

(“Abandonment”) of the Estate’s right, title and interest in and to any and all furniture, equipment, personal effects,

and any other of the Debtor’s property (“Property”) remaining at Suite 210, Shirlington Tower building, located at

2900 South Quincy Street, Arlington, Virginia 22206. The Trustee’s investigations have determined that the

Property, in his business judgment, has less value than the cost of selling such Property. Therefore, the Property has

no value and is burdensome to the Estate.

         PLEASE TAKE FURTHER NOTICE, that the Abandonment shall be deemed effective on April 6, 2022.
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          PLEASE TAKE FURTHER NOTICE, that the Abandonment is not intended to be, nor shall it be

construed as, an abandonment of any other assets, claims or rights of the Trustee or the Estate.

          PLEASE TAKE FURTHER NOTICE, that objections (“Objections”) to the Abandonment of the

Property, if any, must be in writing, conform with the Bankruptcy Code and the Bankruptcy Rules, state with

particularity the grounds therefor and be filed with the United States Bankruptcy Court, Southern District of New

York (“Court”), with a courtesy copy to the Chambers of the Honorable Martin Glenn, United States Bankruptcy

Judge, and served upon, so as to be received by, LaMonica Herbst & Maniscalco, LLP, counsel for the Trustee,

Attn: Jacqulyn Loftin, Esq., no later than April 5, 2022 (“Objection Deadline”) as follows: (a) (i) through the

Court’s electronic filing system, which may be accessed through the internet at the Court’s website at

www.nysb.uscourts.gov; and (ii) in portable document format (PDF) using Adobe Exchange Software for

conversion; or (b) if a party is unavailable to file electronically, such party shall submit the objection in PDF format

on a diskette in an envelope with the case name, case number, type and title of document, document number to

which the objection refers and the file name on the outside of the envelope.

          PLEASE TAKE FURTHER NOTICE, that if no Objections are filed by the Objection Deadline, the

Estate’s interest in the Property will be deemed abandoned by operation of law.

          PLEASE TAKE FURTHER NOTICE, that in the event Objections are filed with the Court and served

upon the undersigned, there will be a hearing scheduled and held before the Honorable Martin Glenn, Chief United

States Bankruptcy Judge, to consider any such Objections, notice of which will be given to all known creditors and

parties in interest by the Trustee.

 Dated:     March 17, 2022
            Wantagh, New York                     LaMONICA HERBST & MANISCALCO, LLP
                                                  Counsel to Salvatore LaMonica, Chapter 7 Trustee

                                           By:    s/ Jacqulyn S. Loftin
                                                  Jacqulyn S. Loftin, Esq.
                                                  Cristina M. Lipan, Esq.
                                                  3305 Jerusalem Avenue, Suite 201
                                                  Wantagh, New York 11793
                                                  Telephone: 516.826.6500




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